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ATTORNEYS FOR PAYETTE CITY DEFENDANTS




                      IN THE UNITED STATES DISTRICT COURT

                        IN AND FOR THE DISTRICT OF IDAHO

DAVID M. GRANT,                                 )
                                                )
                Plaintiff,                      )
                                                )   Case No. 1:18-cv-00411-CWD
        vs.                                     )
                                                )   PAYETTE CITY DEFENDANTS’
BENJAMIN KEY, in his official and individual )      MOTION FOR SUMMARY
capacities, CITY OF FRUITLAND, a political      )   JUDGMENT
subdivision of the State of Idaho, FRUITLAND )
CITY POLICE DEPARTMENT, a department            )
of the City of Fruitland, J.D. HUFF, in his     )
individual and official capacity, CITY OF       )
PAYETTE, a political subdivision of the State   )
of Idaho, PAYETTE POLICE DEPARTMENT, )
a department of the City of Payette, BEN        )
BRANHAM, in his individual and official         )
capacity, DUANE HIGLEY, in his individual       )
and official capacity, MARK CLARK, in his       )
individual and official capacity, JOHN or JANE )
DOES #1-10, whose true identifies are presently )
unknown, and other Employees of the City of     )
Fruitland, the City of Payette, or Payette      )
County,,                                        )
                                                )
                Defendants.                     )
                                                )




PAYETTE CITY DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT – P. 1
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       COME NOW the Defendants CITY OF PAYETTE, PAYETTE POLICE DEPARTMENT,

BEN BRANHAM, DUANE HIGLEY and MARK CLARK (collectively “Payette City

Defendants”), by and through their attorney of record, Michael J. Kane of the firm Kane & Associates,

PLLC, and hereby move this Court pursuant to Federal Rule of Civil Procedure 56 for summary

judgment in favor of Defendants.

       This motion is based upon the files and records maintained herein, along with the Statement

of Undisputed Material Facts, Memorandum in Support, and the Affidavits of Ben Branham,

Duane Higley, Chief Mark Clark and Michael J. Kane filed contemporaneously herewith.

       DATED this 18th day of April, 2019.

                                               MICHAEL KANE & ASSOCIATES, PLLC

                                         BY:       /s/ Michael J. Kane                      .
                                               Attorneys for Payette City Defendants


                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 18th day of April, 2019, I electronically filed the
foregoing document with the U.S. District Court. Notice will automatically be electronically
mailed to the following individuals who are registered with the U.S. District Court’s CM/ECF
System for this action:

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                                                          /s/ Michael J. Kane                      .




PAYETTE CITY DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT – P. 2
